          Case 1:22-cv-00250-CJN Document 18 Filed 12/12/22 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_____________________________________________

CLETA MITCHELL                               )
                                             )
                   Plaintiff,                )
            v.                               )
                                             )                  Civil Action 1:22-cv-00250-CJN
U.S. HOUSE OF REPRESENTATIVES                )
SELECT COMMITTEE TO INVESTIGATE              )
THE JANUARY 6 ATTACK ON THE
                TH                           )
UNITED STATES CAPITOL, et al.                )
                                             )
                   Defendants.               )
_____________________________________________)
                            NOTICE OF VOLUNTARY DISMISSAL
                             PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)

        Pursuant to F.R.C.P. 41(a)(1)(A)(ii), and due to the withdrawal by the Chairman of the

House Select Committee to Investigate the January 6th Attack on the U.S. Capitol of the

subpoena issued to AT&T for cellular records associated with Plaintiff's telephone number and

account, the parties hereby agree and stipulate to a voluntary dismissal of this action without

prejudice. The parties further agree and stipulate that they each will bear their own costs and

legal fees incurred in this case.

December 12, 2022                         Respectfully submitted,

                                          JPROWLEY LAW PLLC

                                    By:      /s/ John P. Rowley III__
                                          John P. Rowley III (DC Bar No. 392629)
                                          1701 Pennsylvania Avenue, NW, Suite 200
                                          Washington DC 20006
                                          john.rowley@jprowleylaw.com
                                          Telephone: 202 525 6674




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         Case 1:22-cv-00250-CJN Document 18 Filed 12/12/22 Page 2 of 2




                                      E&W LAW, LLC

                                By:      /s/ John S. Irving______________
                                      John S. Irving (D.C. Bar No. 460068)
                                      1455 Pennsylvania Avenue, N.W., Suite 400
                                      Washington, D.C. 20004
                                      Telephone: (301) 807-5670
                                      Email: john.irving@earthandwatergroup.com

                                      Counsel for Plaintiff Cleta Mitchell


                                      OFFICE OF GENERAL COUNSEL
                                      U.S. HOUSE OF REPRESENTATIVES


                                By:       /s/ Douglas N. Letter______________
                                      Douglas N. Letter (D.C. Bar No. 253492)
                                      General Counsel
                                      Todd B. Tatelman (VA Bar No. 66008)
                                      Eric R. Columbus (D.C. Bar No. 487736)
                                      5140 O’Neill House Office Building
                                      Washington, D.C. 20515
                                      (202) 225-9700
                                      Douglas.Letter@mail.house.gov

                                      Counsel for Defendants




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 12th day of December 2022 a copy of the foregoing

Motion was served via the Court’s CM/ECF system on all properly registered parties and counsel.


                                                /s/ John P. Rowley III______________
                                             John P. Rowley III (D.C. Bar No. 392629)


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